Case 2:05-cr-20149-.]PI\/| Document 27 Filed 08/29/05 Page 1 of 3 Page|D 33

 

IN THE UNITED STATES DISTRICT coURT H.mm;__‘
FOR THE wESTERN DISTRICT oF TENNESSEE '~----Dc
wESTERN DIVISION migng AH
5=1¢3
WML{ RJUJM
UNITED STATES oF AMERICA ag%%§ INSEYCTCOLHT

Plaintiff,

Criminal No . @~ 301 gi Ml

(30-Day Continuance)

:_\JQ(MQ{`¢\€. /!;HI.,A<E

 

 

 

 

VVWVVVVVVVVVVV\/V\JVVV

Defendant(s).

 

CONSEN'I` ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, Seotember 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed in open court

at report date this 26th day of August, 2005.

Thfs document entered on the dockets set la ~ ~- ‘ '
With Ru|e 55 and/or 32(!;)) FHCrP on 'é£ "05/ 2,

Case 2:05-cr-20149-.]PI\/| Document 27 Filed 08/29/05 Page 2 of 3 Page|D 34

So oRDERED this 26th day of August, 2005.

M(LQQ

JON PHIPPS MCCALLA
UN ED STATES DISTRIC'I` JUDGE

w '

Assistant United States Attorney

 

 

 

L¢Z\VJZML,//

Counsel for Defendant(s)

 

   

UNITED sTATE ISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20149 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Robert M. Brannon

LAW OFFICE OF ROBERT M. BRANNON
295 Washington Avenue

Ste. 3

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

